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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

NETCHOICE, LLC et al.,

                   Plaintiffs,


v.                                           CASE NO. 4:21-cv-00220-RH-MAF
ASHLEY BROOKE MOODY et al.,

                   Defendants.



                                    ANSWER

      Defendants Ashley Brooke Moody, Joni Alexis Poitier, Jason Todd Allen,

John Martin Hayes, Kymberlee Curry Smith, and Patrick Gillespie, acting in their

respective official capacities, hereby provide the following Answer and Defenses to

the Complaint filed in this action on May 27, 2021:

      The unnumbered paragraph that precedes paragraph one contains legal

conclusions that do not require a response. Defendants lack sufficient information to

admit or deny Plaintiffs’ characterization of their goals in filing this lawsuit.

Defendants deny any remaining allegations in this paragraph.

      1.     Admit that the Act was enacted on May 2, 2021, and signed into law on

May 24, 2021. Admit that the Act was codified in the sections cited by footnote 1.



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This paragraph contains legal conclusions that do not require a response. Defendants

deny any remaining allegations in this paragraph.

      2.    This paragraph contains legal conclusions that do not require a

response. Defendants deny the remaining allegations in this paragraph.

      3.    This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      4.    This paragraph contains legal conclusions that do not require a

response. Governor DeSantis’ statements about the Act speak for themselves, and

Defendants deny this paragraph’s characterization of those statements. Defendants

deny any remaining allegations in this paragraph.

      5.    The legislative record supporting the Act speaks for itself, and

Defendants deny this paragraph’s characterization of that record. This paragraph

contains legal conclusions that do not require a response. Defendants deny any

remaining allegations in this paragraph.

      6.    This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      7.    This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      7a.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.


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      7b.    This paragraph contains legal conclusions that do not require a

response. The cited article from the Sun Sentinel speaks for itself, and Defendants

deny this paragraph’s characterization of that article and the quotations it contains.

Defendants deny any remaining allegations in this paragraph.

      7c.    This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      7d.    This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      7e.    This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      8.     This paragraph contains legal conclusions that do not require a

response. The cited article from CL Tampa Bay and the quotations included in that

article speak for themselves, and Defendants deny this paragraph’s characterizations

of that article. Defendants deny any remaining allegations in this paragraph.

      9.     This paragraph contains legal conclusions that do not require a

response. Public statements made about the Act speak for themselves, and

Defendants deny this paragraph’s characterizations of those statements. Defendants

deny any remaining allegations in this paragraph.

      10.    This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.


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      11.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      12.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      13.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      14.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      15.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      16.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      17.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      18.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      19.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      20.   Defendants lack sufficient information to admit or deny the identities

of Plaintiffs’ members. Defendants deny any remaining allegations in this paragraph.


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      21.    This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      22.    This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      23.    This paragraph contains legal conclusions that do not require a

response. Defendants do not have sufficient information to admit or deny this

paragraph’s allegations concerning the future effects of the Act on Plaintiffs’

members or whether or to what extent the Act would require Plaintiffs’ members to

alter the content available on their platforms. Defendants deny any remaining

allegations in this paragraph.

      24.    This paragraph contains legal conclusions that do not require a

response. To the extent this paragraph’s statements about the future effect of the Act

on Plaintiffs’ members are deemed to be factual allegations, Defendants do not have

sufficient information to admit or deny those allegations. Defendants deny any

remaining allegations in this paragraph.

      25.    This paragraph contains legal conclusions that do not require a

response. Defendants lack sufficient information to admit or deny Plaintiffs’

allegations about what they anticipate concerning the State’s enforcement of the Act.

Defendants deny any remaining allegations in this paragraph.




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      26.    This paragraph contains legal conclusions that do not require a

response. Public officials’ statements concerning the Act speak for themselves, and

Defendants deny this paragraph’s characterizations of those statements. Defendants

deny any remaining allegations in this paragraph.

      27.    This paragraph contains legal conclusions that do not require a

response. Defendants do not have sufficient information to admit or deny allegations

concerning Plaintiffs’ missions. Defendants deny any remaining allegations in this

paragraph.

      28.    This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      29.    This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      30.    This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      31.    This paragraph contains legal conclusions that do not require a

response. Defendants admit that they perform their official duties in the Northern

District of Florida and that the Attorney General of Florida regularly conducts

business and proceedings in the Northern District of Florida. Defendants deny any

remaining allegations in this paragraph.




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      32.    Defendants lack sufficient information to admit or deny the factual

allegations in this paragraph. Defendants deny any remaining allegations in this

paragraph.

      33.    Defendants lack sufficient information to admit or deny the factual

allegations in this paragraph. Defendants deny any remaining allegations in this

paragraph.

      34.    Defendants lack sufficient information to admit or deny the factual

allegations in this paragraph. Defendants deny any remaining allegations in this

paragraph.

      35.    Admit that Ashley Moody is the Attorney General of Florida. This

paragraph contains legal conclusions that do not require a response. Defendants deny

any remaining allegations in this paragraph.

      36.    Admit that Joni Alexis Poitier is a Commissioner of and the Vice Chair

of the Florida Elections Commission. This paragraph contains legal conclusions that

do not require a response. Defendants deny any remaining allegations in this

paragraph.

      37.    Admit that Jason Todd Allen is a Commissioner of the Florida Elections

Commission. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.




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      38.    Admit that John Martin Hayes is a Commissioner of the Florida

Elections Commission. This paragraph contains legal conclusions that do not require

a response. Defendants deny any remaining allegations in this paragraph.

      39.    Admit that Kymberlee Curry Smith is a Commissioner of the Florida

Elections Commission. This paragraph contains legal conclusions that do not require

a response. Defendants deny any remaining allegations in this paragraph.

      40.    Admit that Patrick Gillespie is the Deputy Secretary of Business

Operations of the Florida Department of Management Services. Admit that the

Secretary of the Department resigned in February 2021 and had not been replaced

as of the time of the filing of the Complaint. This paragraph contains legal

conclusions that do not require a response. Defendants deny any remaining

allegations in this paragraph.

      41.    This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      42.    Defendants admit that they would enforce the Act in accordance with

its terms in the absence of an injunction or other court order prohibiting them from

doing so. The remainder of this paragraph contains legal conclusions that do not

require a response. Defendants deny any remaining allegations in this paragraph.

      43.    This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.


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      44.    Defendants lack sufficient information to admit or deny the factual

allegations in this paragraph. Defendants deny any remaining allegations in this

paragraph.

      45.    Defendants lack sufficient information to admit or deny the factual

allegations in this paragraph. Defendants deny any remaining allegations in this

paragraph.

      46.    This paragraph contains legal conclusions that do not require a

response. Defendants lack sufficient information to admit or deny the factual

allegations in this paragraph. Defendants deny any remaining allegations in this

paragraph.

      47.    Defendants lack sufficient information to admit or deny this

paragraph’s factual allegations regarding the mechanisms used for content

moderation. This paragraph contains a legal conclusion that does not require a

response. Defendants deny any remaining allegations in this paragraph.

      48.    This paragraph contains legal conclusions that do not require a

response. Defendants lack sufficient information to admit or deny this paragraph’s

factual allegations. Defendants deny any remaining allegations in this paragraph.

      49.    Defendants lack sufficient information to admit or deny this

paragraph’s factual allegations. Defendants deny any remaining allegations in this

paragraph.


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      50.    Defendants lack sufficient information to admit or deny this

paragraph’s factual allegations. Defendants deny any remaining allegations in this

paragraph.

      51.    This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      52.    Admitted.

      53.    The Act’s legislative history and public statements by state legislators

and officials speak for themselves, and Defendants deny this paragraph’s

characterization of those statements. This paragraph contains legal conclusions that

do not require a response. Defendants deny any remaining allegations in this

paragraph.

      54.    This paragraph contains legal conclusions that do not require a

response. The statements by Governor DeSantis and Speaker Sprowls speak for

themselves, and Defendants deny this paragraph’s characterization of those

statements. Defendants deny any remaining allegations in this paragraph.

      55.    This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      56.    This paragraph contains legal conclusions that do not require a

response. To the extent this paragraph includes factual allegations, those allegations

are denied. Defendants deny any remaining allegations in this paragraph.


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      57.    This paragraph contains legal conclusions that do not require a

response. Public statements by state legislators speak for themselves, and

Defendants deny this paragraph’s characterization of those statements. Defendants

deny any remaining allegations in this paragraph.

      58.    This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      59.    This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      60.    The Act’s provisions speak for themselves. Defendants deny any

remaining allegations in this paragraph.

      61.    The Act’s provisions speak for themselves. This paragraph contains

legal conclusions that do not require a response. Defendants deny any remaining

allegations in this paragraph.

      62.    The Act’s provisions speak for themselves. This paragraph contains

legal conclusions that do not require a response. Defendants deny any remaining

allegations in this paragraph.

      63.    The Act’s provisions speak for themselves. This paragraph contains

legal conclusions that do not require a response. Defendants deny any remaining

allegations in this paragraph.




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      64.    The Act’s provisions speak for themselves. This paragraph contains

legal conclusions that do not require a response. Defendants deny any remaining

allegations in this paragraph.

      65.    This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      66.    This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      67.    This paragraph contains legal conclusions that do not require a

response. Characterizations of Russian law by Human Rights Watch and the New

York Times speak for themselves, and Defendants deny that those characterizations

have any connection to the Act. Defendants deny any remaining allegations in this

paragraph.

      68.    This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      68a. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      68b. This paragraph also contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      68c. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.


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      68d. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      68e. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      69.    This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      70.    This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      70a. The Act’s provisions speak for themselves. This paragraph contains

legal conclusions that do not require a response. Defendants deny any remaining

allegations in this paragraph.

      70b. The Act’s provisions speak for themselves. This paragraph contains

legal conclusions that do not require a response. Defendants deny any remaining

allegations in this paragraph.

      70c. The Act’s provisions speak for themselves. This paragraph contains

legal conclusions that do not require a response. Defendants deny any remaining

allegations in this paragraph.

      70d. The Act’s provisions speak for themselves. This paragraph contains

legal conclusions that do not require a response. Defendants deny any remaining

allegations in this paragraph.


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      70e. The Act’s provisions speak for themselves. This paragraph contains

legal conclusions that do not require a response. Defendants deny any remaining

allegations in this paragraph.

      70f. The Act’s provisions speak for themselves. This paragraph contains

legal conclusions that do not require a response. Defendants deny any remaining

allegations in this paragraph.

      71.     The Act’s provisions speak for themselves. The second sentence of this

paragraph contains legal conclusions that do not require a response. Defendants deny

any remaining allegations in this paragraph.

      72.     This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      73.    This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      74.    The Act’s provisions speak for themselves. The first and third sentences

of this paragraph contain legal conclusions that do not require a response.

Defendants deny any remaining allegations in this paragraph.

      75.    This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      76.    Defendants restate and adopt their above responses to each of the

paragraphs incorporated by reference.


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      77.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      78.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      79.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      80.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      81.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      82.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      83.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      84.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      85.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      86.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.


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      87.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      88.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      89.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      90.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      91.   This paragraph contains legal conclusions that do not require a

response. Public statements made by elected officials about the Act speak for

themselves, and Defendants deny this paragraph’s characterizations of those

statements. Defendants deny any remaining allegations in this paragraph.

      92.   This paragraph contains legal conclusions that do not require a

response. Public statements made about the Act speak for themselves, and

Defendants deny this paragraph’s characterizations of those statements. Defendants

deny any remaining allegations in this paragraph.

      93.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      94.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.


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      95.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      96.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      97.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      98.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      99.   This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      100. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      101. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      102. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      103. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      104. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.


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      105. Defendants restate and adopt their above responses their previous

responses to each of the paragraphs incorporated by reference.

      106. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      107. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      108. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      109. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      109a. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      109b. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      109c. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      109d. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      110. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.


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      111. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      112. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      113. Defendants restate and adopt their above responses their previous

responses to each of the paragraphs incorporated by reference.

      114. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      115. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      116. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      117. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      118. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      119. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      120. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.


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      121. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      122. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      123. Defendants restate and adopt their above responses their previous

responses to each of the paragraphs incorporated by reference.

      124. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      125. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      126. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      127. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      128. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      129. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      130. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.


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      131. Defendants restate and adopt their above responses their previous

responses to each of the paragraphs incorporated by reference

      132. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      133. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      134. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      135. The cited statute speaks for itself. This paragraph contains legal

conclusions that do not require a response. Defendants deny any remaining

allegations in this paragraph.

      136. The cited statute speaks for itself. This paragraph contains legal

conclusions that do not require a response. Defendants deny any remaining

allegations in this paragraph.

      137. The cited statute speaks for itself. Defendants deny any remaining

allegations in this paragraph.

      138. The cited statute speaks for itself. Defendants deny any remaining

allegations in this paragraph.




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      139. The cited statute speaks for itself. This paragraph contains legal

conclusions that do not require a response. Defendants deny any remaining

allegations in this paragraph.

      140. The cited statute speaks for itself. This paragraph contains legal

conclusions that do not require a response. Defendants deny any remaining

allegations in this paragraph.

      141. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      142. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      143. This paragraph contains legal conclusions that do not require a

response. Defendants deny any remaining allegations in this paragraph.

      The paragraphs on pages 68–69 of the complaint under “PRAYER FOR

RELIEF” consist of a prayer for relief that does not require a response. To the extent

a response is required, Defendants deny that Plaintiffs are entitled to the relief

described.

                                    DEFENSES
      Defendants assert the following defenses without admitting any of the

allegations in the Complaint that have previously been denied, without assuming any

burden of proof that Defendants would not otherwise bear, and reserving the right to


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amend or supplement these defenses and raise counterclaims as additional facts

become available or apparent in this action:

                                    First Defense

      The Complaint fails to state a claim upon which relief can be granted.

                                  Second Defense

      Plaintiffs’ claims are barred by the doctrine of judicial estoppel.

                                   Third Defense

      Plaintiffs’ claims are barred by the doctrine of issue preclusion.

                                  Fourth Defense

      Plaintiffs’ claims are barred by the doctrine of unclean hands.

                                   Fifth Defense

      Plaintiffs have waived the relief they seek through their members’ terms of

service.

                                   Sixth Defense

      Insofar as 47 U.S.C. § 230 would render all or any portion of the Act

unconstitutional, 47 U.S.C. § 230 is invalid and in violation of the First Amendment,

the Tenth Amendment, and the principle of federalism.

                                  Seventh Defense

      Plaintiffs lack standing to bring these claims on behalf of their members.




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                                   Eighth Defense

      This court should abstain from deciding these issues until Florida courts have

interpreted the Act pursuant to Railroad Commission of Texas v. Pullman Co., 312

U.S. 496 (1941).

                                   Ninth Defense

      Plaintiffs are not entitled to equitable relief because they have an adequate

remedy at law.

                                   Tenth Defense

      Defendants are immune from Commerce Clause claims stemming from their

decisions not to contract with certain social media platforms because such decisions

are made in Defendants’ capacity as a market participant rather than as a regulator.

                              Reservation of Defenses
      Defendants presently have insufficient knowledge or information on which to

form a belief as to whether they have additional defenses. Defendants reserve the

right to assert additional defenses in this action in the event that discovery or other

developments indicate that such defenses would be appropriate.

                                      PRAYER
      Defendants respectfully pray as follows:

      1.     That the Complaint be dismissed with prejudice in its entirety;

      2.     That judgment be entered in favor of Defendants and against Plaintiffs

on the Complaint as a whole; and
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     3.     That the Court award Defendants such other and further relief as the

Court may deem appropriate.

Dated: July 15, 2021                        Respectfully submitted,

/s/Blaine H. Winship                        /s/Charles J. Cooper
Blaine H. Winship                           Charles J. Cooper (248070DC)
Florida Bar No. 356913                      David H. Thompson (450503DC)
Chief Assistant Attorney General            Brian W. Barnes*
Complex Litigation Bureau                   Joseph O. Masterman (Florida Bar
                                            No. 1004179)
Daniel W. Bell                              COOPER & KIRK, PLLC
Florida Bar No. 1008587                     1523 New Hampshire Ave., NW
Chief Deputy Solicitor General              Washington, DC 20036
                                            (202) 220-9600
Office of the Attorney General of           ccooper@cooperkirk.com
Florida                                     dthompson@cooperkirk.com
The Capitol, Suite PL-01                    bbarnes@cooperkirk.com
Tallahassee, Florida 32399-1050             jmasterman@cooperkirk.com
Telephone: (850) 414-3300                     *Admitted pro hac vice
Facsimile: (850) 488-4872
Blaine.winship@myfloridalegal.com           James W. Uthmeier
Daniel.bell@myfloridalegal.com              Florida Bar No. 113156
                                            General Counsel
Attorneys for Defendants Ashley             Raymond F. Treadwell
Moody, in her official capacity as          Florida Bar No. 93834
Attorney General of Florida; Joni           Chief Deputy General Counsel
Alexis Poitier, in her official capacity    EXECUTIVE OFFICE OF GOVERNOR RON
as Commissioner of the Florida              DESANTIS
Elections Commission; Jason Todd            Office of the General Counsel
Allen, in his official capacity as          The Capitol, PL-05
Commissioner of the Florida Elections       Tallahassee, FL 32399
Commission; John Martin Hayes, in           (850) 717-9310
his official capacity as Commissioner       James.Uthmeier@eog.myflorida.com
of the Florida Elections Commission;        Ray.Treadwell@eog.myflorida.com
and Kymberlee Curry Smith, in her
official capacity as Commissioner of        Attorneys for Defendant Patrick
the Florida Elections Commission            Gillespie, in his official capacity as
                                            Deputy Secretary of Business
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                                  Operations of the Florida Department
                                  of Management Services




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